                              	NO. 07-11-0239-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL D
                                       
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JULY 13, 2010  
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                       In the Interest of S.M., a Child 
                          ___________________________
                                       
                FROM THE 72nd DISTRICT COURT OF LUBBOCK COUNTY;
                                       
              NO. 2008-542,245; HONORABLE RUBEN REYES, PRESIDING

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Order of Dismissal
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Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.


Appellant Cesar Mendez filed a notice of appeal on June 15, 2011.  However, appellant did not pay the $175 filing fee required under Texas Rule of Appellate Procedure 5.  Nor did he file with us an affidavit of indigence per Texas Rule of Appellate Procedure 20.1.  By letter from this Court dated June 21, 2011, we informed appellant that the filing fee had not been paid and that the failure to cure the default within ten days may result in a dismissal of his appeal.  Tex. R. App. P. 42.3(c); see Holt v. F. F. Enterprises, 990 S.W.2d 756 (Tex. App. - Amarillo 1998, pet. refd).  The fee was not so paid.  Nor did appellant tender an affidavit of indigence within that time.  Indeed, the absence of such an affidavit was noted by the trial court via an order dated July 1, 2011, wherein it discharged appellant's appointed counsel from further representing appellant.  The trial court also disclosed in the order that appellant had not claimed to be indigent. 
Because appellant has failed to pay the requisite filing fees as directed by the court, we dismiss the appeal pursuant to Texas Rule of Appellate Procedure 42.3(c). 

                                                               		
Per Curiam









